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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 COALITION FOR HUMANE IMMIGRANT RIGHTS,
 et al.,

     Plaintiffs,

     v.                                                              Case No.: 1:25-cv-0872

 KRISTI NOEM, in her official capacity as Secretary of
 Homeland Security, et al.,

     Defendants.




                          DECLARATION OF MING TANIGAWA-LAU

I, Ming Tanigawa-Lau, upon my personal knowledge, hereby declare as follows:

   1. I am over the age of 18 and competent to testify to the facts and matters set forth herein.

   2. I am a staff attorney at Immigrant Defenders Law Center (“ImmDef”), and I am an

          attorney in good standing of the State Bar of California. I have been practicing law for

          three and a half years, focusing on issues in immigration law and federal litigation. For

          the last year, I have solely focused on immigration deportation defense for minors and

          adults in Southern California.

   3. On May 27, 2025, I was assigned to provide pro bono assistance to R.A.U.P., an

          individual who was paroled into the United States at a port of entry in 2024 and has now

          been placed in expedited removal proceedings. My supervisor at ImmDef told me that

          R.A.U.P. had been detained at his court hearing on May 23, 2025, and transferred to the

          Northwest Detention Center in Tacoma, Washington.
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4. That same day, on May 27, 2025, I called the Northwest Detention Center to inquire

   about speaking with R.A.U.P. I was told that I could leave a message for him with my

   phone number, and that he could choose to call me back at any time of the day or night. I

   left my phone number with the agent. In my experience, this was a highly unusual system

   for setting up attorney calls, which normally involves emailing a dedicated email address

   to coordinate a specific meeting time with a client.

5. Later that day, I received a call from R.A.U.P. He told me that he was paying for the call

   and that he only had ten minutes to speak with me. There were voices in the background,

   and he said it was noisy where he was calling from. I was surprised by this because I

   know that ICE standards require detainees to be provided with private consultation rooms

   for their attorney calls. I also know that ICE standards require that facilities permit

   detainees to make free calls to engage in legal consultation. In my experience, a client has

   never had to call me from a public phone using their own phone credits.

6. I was able to schedule a private attorney call with R.A.U.P. on June 4, 2025. R.A.U.P.

   told me that he entered the United States in September 2024 through the San Ysidro Port

   of Entry, with an appointment made through the CBP One application. He was inspected

   and granted parole into the country until September 2026, and he was also given a Notice

   to Appear with an immigration court hearing date. Attached as Exhibit A to this

   declaration is a true and correct copy of the Notice of Appear (“NTA”), dated September

   6, 2024, that R.A.U.P. received with all personally identifiable information redacted. The

   September 6 NTA ordered R.A.U.P. to appear at a Master Calendar Hearing on March 21,

   2025. Unfortunately, R.A.U.P. told me that he contracted COVID three days prior to his

   hearing and was unable to appear. At the March 21 hearing, the immigration judge issued
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   him an in absentia removal order, but after submitting evidence of his doctor’s visit and a

   Motion to Reopen, R.A.U.P. was able to have his case reopened. R.A.U.P. received a new

   hearing notice, scheduling his first Master Calendar Hearing for May 23, 2025. Attached

   as Exhibit B to this declaration is a true and correct copy of the Notice of In-Person

   Hearing, dated April 16, 2025, that R.A.U.P. received with all personally identifiable

   information redacted. As instructed, R.A.U.P. attended his first Master Calendar Hearing

   on May 23, 2025, but that day his case was dismissed on motion by the Department of

   Homeland Security attorney and he was detained shortly after and placed in expedited

   removal proceedings.

7. R.A.U.P. told me that after his arrest by ICE, he was taken to the ICE processing center in

   Los Angeles, where they asked him about whether he had any links to gangs in Venezuela

   or elsewhere. R.A.U.P. said he refused to answer any questions without an attorney. They

   then sent him to a prison in Glendale, where he spent the night. Per R.A.U.P., the next

   day, they told him that they were going to take him to a detention center in Washington,

   where he would stay for three or four days, before being deported to Venezuela. R.A.U.P.

   told me that on May 24, 2025, they took him to the Northwest Detention Center. He said

   that since then, no one has told him anything about his case or what would happen to

   him.

8. On our call, R.A.U.P. sounded angry, confused, and desperate. He told me that while he

   had previously planned on submitting a claim for asylum, he now feared that the system

   would not protect him even if he did have a legitimate asylum case. He expressed that not

   being given any information about what was going to happen to him or when he might be

   deported or transferred was enormously difficult and frustrating.
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9. R.A.U.P. was preparing to file an application for asylum when he went to his Master

   Calendar Hearing on May 23. He should have a meaningful opportunity to present his

   claim for asylum before an immigration judge, but because he has now been placed in

   expedited removal, he will not be able to present his asylum claim unless immigration

   officials refer him for a Credible Fear Interview and at that interview determine that he

   has established a credible fear of persecution.

10. Because he is in detention, R.A.U.P.’s ability to communicate with counsel is

   significantly diminished. It took me a week of emailing and calling the Northwest

   Detention Center to finally schedule an ordinary attorney call with R.A.U.P. for June 4,

   2025. The delay in being able to have an extended consultation with R.A.U.P. meant I

   could not gather crucial information from R.A.U.P. or meaningfully assess his

   immigration options.

11. Furthermore, placing R.A.U.P. in expedited removal proceedings makes it significantly

   more difficult for him to gather evidence and prepare his asylum application, which he

   must submit by September 2025 in order to comply with his statutory One Year Filing

   Deadline. Instead of allowing him time to prepare his application, as he expected, DHS

   has forced R.A.U.P. to essentially re-initiate his claim for asylum by asserting his fear of

   return, proceeding with a Credible Fear Interview, and hopefully being placed once again

   in removal proceedings, all while in detention. This is deeply troubling to me, given that

   R.A.U.P. applied for and received a CBP One appointment to come to a port of entry, was

   inspected and paroled into the U.S., complied with his obligations to appear at court, and

   was preparing his legitimate application for asylum.
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   12. Because R.A.U.P. is detained in Washington and I am only able to reach him by phone

       occasionally, it is not reasonably feasible to obtain a signed declaration directly from him.

       I reviewed the contents of this declaration over the phone with him and he confirmed that

       the statements about his immigration history, status, and case are all true and correct to

       the best of his knowledge.



   I declare under penalty of perjury and under the laws of the United States that the foregoing

is true and correct to the best of my knowledge.



                                            Executed in Los Angeles, California on June 4, 2025.




                                                                               Ming Tanigawa-Lau
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                      EXHIBIT A




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                      EXHIBIT B




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